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IN THE CIRCUIT COURT OF THE EIGI'ITEENTH JUDICIAL
CIRCUIT IN AND FOR SEMINOLE COUNTY, FLOR]DA

CASE NO. 12-CA-2139-08
KAREN D. GEHL, 3 /D
P:aimirr, /J//;l~C/f/"/M J]§
¢vs-
DIRECT TRANSPORT, LTD., a For Prot`lt
Business Corporatiou; BRAND TRUCKING,
LTD., s For Prol`it Business Corporalion;
and WARREN W. LYMAN, individually,

De[eudants.
l

AMIBI_)ED COMPLAINT

Piaintif`f`, KAREN D. GEHL, sues Dci`endants, DIRECT TRANSPORT, LTD., a For
Profit Business Corporation, BRANI) TRUCK]NG, LTD., a For Profit Business Corporation,
and WARREN W. I..YMAN, individually, and alleges:

l. 'I`his is an action l`or damages in excess of` Fifteen Thousand ($15,000.00) Dollars.

2. At all time relevant hcreto, P|aintif`f, i<.aren D. Gehl, is and was a resident of
Semino|e Counly, Florida.

3. At all times relevant hcreto, Del`endant, WARREN W. LYMAN, individually,
(hereinaftcr referred to as “LYMAN“) was the operator of a 2004 Intemational
commerciall'trmspon truck in Scminole County, F|orida with a North Dakota State license plate
#45933, VIN IFUJBBAVX4LM93753, hereinafter referred to as the “SUB.]'ECT TRACTOR".

4. At all times relevant hercto, Def`endant LYMAN was in the business of transporting

goods using the SUBJECT TRACTOR.

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EXH|B|T

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5. At all times relevant hereto, Det`endant, DIRECT TRANSPORT, LTD.
(hereinaher referred to as “DlREC’|`”) was/is a For Proiit Business Corporation engaged in the
business of transporting goods throughout the State of Florida with its principal place of business
located at 460 7m Avenue NE, West Fargo, North Dakota 58078, and whose registered agent is
rail nellan¢va. 1325 14"' sr, Fargo, ND 58103.

6. At all times relevant hereto, Dei`endant, BRAND TRUCKING, LTD. (hereinaiter
refened to as “BRAND”) wayis a For Prolit Business Corporation engaged in the business of
transporting goods throughout the State of Florida with its principal place of business located at
56|7 19“‘ Avenue N, Fargo, North Dakota 58\02, and whose registered agent is Bruee Brand.

7. At all times relevant hereto, Defendant LYMAN was an employee, agent or
apparent agent of Dcfendant DlRECT.

8. At all times relevant hereto, Defendant LYMAN was an employee, agent or
apparent agent of Defendant BRAND.

9. At all times relevant hereto, SUB.IECT TRACTOR was owned by Defendant
DIRECT.

10. At all times relevant hereto, SUBJECT TRACTOR was leased by Defendant
DIRECT.

ll. At all times relevant hereto, SUBJECT TRACTOR was owned by Defendant
BRAND.

12. At all times relevant bereto, SUBJECT TRACTOR was leased by Defendartt
BRAND.

13. At all times relevant hereto, Det`endant LYMAN had a duty to use reasonable care
in the operation of the SUBJECT TRACTOR. n

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14. At all times relevant hereto, Defendant BRAND had a duty to use reasonable care
in the hiring and/or retention of its driving personnel, including Defenth LYMAN.

t$. At all times relevant hereto, Defendant BRAND had a duty to use reasonable care
in the entrustment of the SUBJEC’I` 'I`RACTOR to driving personnel, including Defendant
LYMAN.

16. At all times relevant hereto, Defendant DIRECT had a duty to use reasonable care
in the hiring and/or retention of its driving personnel, including Defendant LYMAN.

l7. At all times relevant hereto, Defendant DIRECT had a duty to use reasonable care
in the entrustment of the SUBJECT TRACTOR to driving personnel, including Defendant
LYMAN.

18. On or about February 24, 2009, at approximately 7: 16 am, Defendant LYMAN was
operating the SUBJECT TRACTOR in the westbound center lane of interstate 4 and SR 434,
Seminole County, Florida. At that time and place, Defenth LYMAN was using the SUBJECT
TRACTOR with the express or implied consent of the Defendant DIRECT and/or Defenth
BRAND.

19. On or about February 24, 2009, at approximately 7:|6 am, Plaintif¥` KAREN D.
GEHL (hereinatter referred to as “GEHL”) was the driver of a 1996 Chrysler Sebring (hereinafter
referred to as the “SEBRING”) that was travelling westbound, in the outside lane of lnterstate 4 in
Seminole County, l-`lorida. At that time and place, Defendant LYMAN negligently operated the
SUBJECT TRAC'I`OR so that the passenger’s side of the SUBJECT TRAC'I`OR collided with the
driver's side of the SE.BR.ING, causing the Plaintifi` GEHL to spin counter clockwise across
interstate 4 and impact the guardrail (hereinatier referred to as the “SUBJECT ACCIDEN'I'").

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20. As a result of the aforementioned SUBJEC'I` ACCIDENT, Plaintiff GEHL suffered
bodily injury and resulting pain and suffering, disability, disfigurement, mental anguish, loss of
capacity for the enjoyment of life, expense of hospitalization, medical and nursing care and
treatrnent, loss of eamings, loss of ability to earn money, and/or aggravation of a previously existing
condition. The losses are either permanent or continuing and Plaintiff will sutter the losses in the
future.

COUNT l
QLAIM EOR EEGLIGENCE AGAINST DEFENDANT LYMAN

21. The allegations numbered l - 20 in the foregoing paragraphs are incorporated by
reference as if fully restated herein, and Plaintiff further states:

22. On or about February 24, 2009, Defendant LYMAN was operating the SUBJEC'I`
TRACTOR, westbound, in the center lane of lnterstate 4 and SR 434 in Seminole County, Florida
when he negligently operated the SUBJECT TRACTOR so that the SUBJEC'I` TRAC'I`OR
collided with the SEBRING, in which GEHL wm the driven

23. As a direct and proximate result of the aforesaid negligence of Defendant LYMAN,
Plaintiff GEl-IL, suffered bodily injury and resulting pain and sud`ering, disability, distigurement,
mental anguish, loss of capacity for the enjoyment of life, expense of hospitalization, medical and
nursing care and treatment, loss of eamings, loss of ability to earn money, and/or aggravation of a
previously existing condition. The losses are either permanent or continuing and Plaintih` will
suffer the losses in the future.

WHEREFORE, Plaintiff` GEHL sues Defendant LYMAN, for damages, together with
costs, interest and such other and further relief as this Court deems just and proper and demands a

trial byjury on all issues so triable.

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CO T ll
CLAIM FOR VICA&OUS LIABILITY OF DEFENDANT DIRECT

24. The allegations numbered l - 20 in the foregoing paragraphs are incorporated by
reference as if fully restated herein, and Plaintiff timber states:

25. At all times material hereto, Defendant DlRECT was in legal possession of the
SUBJECT TRACTOR and had control of the SUBJEC'I` TRACTOR being operated by Defendant
LYMAN with the knowledge, permission and consent of Defendant DIRECT.

26. At all times material hereto, and more particularly while Defendant DIRECT gave
permission and consent for Defendant LYMAN to use the SUBJECT TRACTOR, Defendant
LYMAN negligently and carelessly operated and controlled the SUBJEC'I` TRACTOR causing it
to collide with the vehicle in which Plaintit'fGEHL was the driver.

27. At all times material hereto, Defenth DIRECT, having possession and control
over the SUBIEC’I` 'I`RACTOR, is vicariously liable for Defendant LYMAN's negligent operation
of the SUBJECT TRAC'I`OR.

28. As a direct and proximate result of the aforesaid vicarious negligence of Defendant
DIRECT, Plaintift` GEHL, suffered bodily injury and resulting pain and suh`ering, disability,
disfigurement, mental anguish, loss of capacity for the enjoyment oflife, expense of hospitalization,
medical and nursing care and treatrnent, loss of earnings, loss of ability to earn money, and/or
aggravation of a previously existing condition. The losses are either permanent or continuing and
Plaintil'f` will suffer the losses in the future.

WHEREFORE, Plaintiff GEi-ll.. sues Defendant DIRECT for damages, together with costs,
interest and such other and timber relief as this Court deems just and proper and demands a trial by

jury on all issues so triable.

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CLAlM FOR VICARIOUS LIABILI:!:! QF DEFENDANT DIRECT
OWE §RSHIP ANDIOR LEASOR OF TRACTOR

29. The allegations numbered l - 20 in the foregoing paragraphs are incorporated by
reference as if fully restated herein, and Plaintiff further statcs:

30. At all times material hereto, Defendant DlRECT owned and/or leased the
SUBJECT TRAC’I`OR.

31. At all times material hereto, and more particularly while Defendant DIRECT gave
permission and consent for Defendant LYMAN to use the SUBJECT TRAC'I`OR, Defendant
LYMAN negligently and carelessly operated and controlled the SUBJBCT TRACTOR causing it
to collide with the vehicle in which Plaintitf GEl~lL was the driver.

32. At all times material hereto, Defendant DlREC’i`, having possession and control
over the SUBJECT 'I`RAC'I`OR, is vicariously liable for Defendant LYMAN’s negligent operation
of the SUBJECT TRACTOR.

33. As a direct and proximate result of the aforesaid vicarious negligence of Defendant
DIRECT, Plaintiff GBHL, suffered bodily injury and resulting pain and suffering, disability,
disiigurement, mental anguish, loss of capacity for the enjoyment of life, expense of hospitalization,
medical and nursing care and treatment, loss of earnings, loss of ability to cam money, and/or
aggravation of a previously existing condition. The losses are either permanent or continuing and
Plaintiff will suffer the losses in the future.

WHEREFORE, Plaintiff GEHL sues Defendant DIRECT for damages, together with costs,

interest and such other and further relief as this Court deems just and proper and demands a trial by

jury on all issues so triable.

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34. The allegations numbered l - 20 in the foregoing paragraphs are incorporated by
reference as if fully restated herein, and Plaintiti` further states:

35. 1 That Defendant DlRECT, was at all times material to this cause of action engaged in
the operation of transporting goods.

36. 'I`hat Defenth DIRECT, had a duty to use reasonable care in the hiring and/or
retention of its driving personnel of which Defendant LYMAN, was one.

37. That Defendant DIRECT, had a duty to use reasonable care in the entrustment of the
SUBJECT TRACTOR to its driving personnel of which Defendant L¥MAN, was one.

38. That Defendant DlRECT, breached its duty of reasonable care in the hiring of its
driving personnel, including Defendant LYMAN, in that:

a. Defendant DIRECT, was undertaking to operate a business requiring
transporting goods and materials by Defendant DIRECT employees and vehicles, and as a
result, Defendant DlRECT was required to make an appropriate investigation/screening of
all potential driving personnel, including Defendant LYMAN, which was not done;

b. an appropriate investigation and/or screening by Defendant DIRECT, would
have revealed that Defendant L¥MAN, had a poor driving record which reflected his
propensity for driving in a careless manner;

c. it was unreasonable for Defendant DlRECT, to hire Defendant LYMAN, in

light of the information that would have surfaced had a competent investigation/screening

been conducted.

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39. 'l`hat Defendant DIRECT, breached its duty of reasonable care in the retention of
driving personnel. including Defendant LYMAN, by retaining Defendant LVMAN, after becoming
aware of his careless driving. 'l`hat Defendant DlRECT. knew or should have known of such
instances but took no steps to stop or prevent further driving by Defendant LYMAN,

40. 'l`hat Defendant DIRECT, breached its duty of care concerning the Plaintiff by not
using reasonable care to provide for the safety of people on public roads and/or by not properly
supervising its personnel. Said Defendant had a duty either to relieve Defendant LYMAN, of his
duties or to set out specific and clear guidelines governing his conduct. 'l`hat Defendant DIRECT,
failed to do either or take other required or appropriate action.

41. That on or before the aforesaid time and place, Defendant DIRECT, negligently or
carelessly entrusted the SUBJECT TR.ACTOR to Defendant LYMAN; that Defendant DIRECT
knew or should have known that Defendant LYMAN:

a. was note safe, lawml and prudent driver; and/or

b. had been involved in previous vehicular accidents; and/or

c. was known or reputed to be an unsafe driver and/or employce; and/or

d. was incompetent at the time of Defendant LYMAN’s application for
employment

42. 'l`hat as a proximate cause of Defendant DIRECT’s breach of its duty to use
reasonable care when: hiring and/or retaining Defendant LYMAN, and/or entrusting the SUBJECT
TRACTOR to Defendant LYMAN by Defendant DIRECT, Plaintiff GEl-lL was injured in the
SUBJECI` ACCIDENT.

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43. As a direct and proximate result of the aforesaid negligent hiring and/or retention
and/or entrustment of the SUBJECT TRACTOR to Defendant LYMAN by Defendant DIRECT, as
to Defendant DlRBC'l`, Plaintiff GEl-lL, suffered bodily injury and resulting pain and suffering,
disability, disfigurement, mental anguish, loss of capacity for the enjoyment of life, expense of
hospitalization, medical and nursing care and treatment loss of earnings, loss of ability to earn
money, and/or aggravation of a previously existing condition. The losses are either permanent or
continuing and Plaintiff will suffer the losses in the future.

Wl-IEREFOR.E, Plaintiff GEHL sues Defendant DlREC'I` for damages, together with costs,
interest and such other and timber relief as this Court deems just and proper and demands a trial by
jury on all issues so triable.

COUNT V
CLAIM FOR VICAMOUS LIABILITY OF DEFENDANT BRAND

44. The allegations numbered l - 20 in the foregoing paragraphs are incorporated by
reference as if fully restated herein, and Plaintiff further states:

45. At all times material hereto, Defendant BRAND was in legal possession and
control of the SUBJECT TRACTOR being operated by Defendant LYMAN with the knowledge,
permission and consent of Defendant BRAND.

46. At all times material hereto, and more particularly while Defendant BRAND gave
permission and consent for Defendant LYMAN to use the SUBJECT TRACTOR, Defendant
LYMAN negligently and carelessly operated and controlled the SUBJECT TRACTOR causing it
to collide with the vehicle in which plaintiff GEHL was the driver.

47. At all times material hereto, Defendant BRAND, having possession and control
over the SUBJECT TRACTOR, is vicariously liable for Defendant LYMAN’s negligent operation

of the SUBJECT TRACTOR.
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48. As a direct and proximate result of the aforesaid vicarious negligence of Defendant
BRAND, Plaintiff GEHI.., suffered bodily injury and resulting pain and sufi`ering, disability,
disfigurement, mental anguish, loss of capacity for the enjoyment of life, expense of hospitalization,
medical and nursing care and treatrnent, loss of earnings, loss of ability to earn money, and/or
aggravation of a previously existing condition. The losses are either permanent or continuing and
Plaintiff will suffer the losses in the future.

WHEREFORE, Plaintiff GEI-IL sues Defendant BRAND for damages, together with costs,
interest and such other and further relief as this Court deems just and proper and demands a trial by

jury on all issues so triable

COUNT Vl
CLAIM FOR VlCARIOUS LIABILITY OF DEFENDANT BMND
OWNERSHIP OF TRACTOR

49. The allegations numbered l - 20 in the foregoing paragraphs are incorporated by
reference as if fully restated herein, and Plaintiii` further states:

50. At all times material hereto, Defendant BRAND owned and/or leased the
SUBJECI` TRACTOR.

Sl. At all times material hereto, and more particularly while Defendant BRAND gave
permission and consent for Defendant LYMAN to use the SUBJECT TR.ACTOR, Defendant
LYMAN negligently and carelessly operated and controlled the SUBJECT 'I`RACTOR causing it
to collide with the vehicle in which Plaintiff GEHL was the driven

52. At all times material hereto, Defendant BRAND, having possession and control
over the SUBJECT TRACTOR, is vicariously liable for Defendant LYMAN's negligent operation
of the SUBJECT 'l`RAC‘I`OR.

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53. As a direct and proximate result ol` the aforesaid vicarious negligence of Defendant
BRAND, Plaintiff GEl-lL, suffered bodily injury and resulting pain and suffering, disability,
disfigurement, mental anguish, loss of capacity for the enjoyment of life, expense of hospitalization,
medical and nursing care and treatment, loss of earnings, loss of ability to earn money, and/or
aggravation of a previously existing condition. The losses are either permanent or continuing and
Plaintiff will suffer the losses in the future.

WHEREFORE, Plaintiff GEHL sues Defendant BRAND for damages, together with costs,
interest and such other and further relief as this Court deems just and proper and demands a trial by
jury on all issues so triable.

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DEFENDANT BMND
54. The allegations numbered l - 20 in the foregoing paragraphs are incorporated by

reference as if fully restated herein, and Plaintiff further states:

55. 'l`hat Defendant BRAND, was at all times material to this cause of action engaged in
the operation of transporting goods.

56. 'l`hat Defendant BRAND, had a duty to use reasonable care in the hiring and/or
retention of its driving personnel of which Defendant LYMAN, was one.

57. That Defendant BRAND, had a duty to use reasonable care in the entrustment ofthe
SUBJECT TRACTOR to its driving personnel of which Defendant LYMAN, was one.

58. That Defendant BRAND, breached its duty of reasonable care in the hiring of its
driving personnel. including Defendant LYMAN, in that:

a. Defendant BRAND, was undertaking to operate a business requiring
transporting goods and materials by Defendant BRAND employees and vehicles, and as a

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result, Defendant BRAND was required to make an appropriate investigation/screening of

all potential driving personnel, including Defendant LYMAN, which was not done;

b. an appropriate investigation and/or screening by Defendant BRAND, would
have revealed that Defendant LYMAN, had a poor driving record which reflected his
propensity for driving in a careless manner;

c. it was unreasonable for Defendant BRAND, to hire Defendant LYMAN, in
light of the information that would have surfaced had a competent investigation/screening
been conducted.

59. 'l`hat Defendant BRAND, breached its duty cf reasonable care in the retention of
driving personnel, including Defendant LYMAN, by retaining Defendant LYMAN, after becoming
aware of his careless driving. 'l`hat Defendant BRAND, knew or should have known of such
instances but took no steps to stop or prevent further driving by Defendant LYMAN,

60. 'l`hat Defendant BRAND, breached its duty of care conceming the Plaintiff by not
using reasonable care to provide for the safety of people on public roads and/or by not properly
supervising its personnel. Said Defendant had a duty either to relieve Defendant LYMAN, of his
duties cr to set out specific and clear guidelines governing his conduct. 'l`hat Defendant BRAND,
failed to do either or take other required or appropriate action.

61. 'l`hat on or before the aforesaid time and place, Defendant BRAND, negligently or
carelessly entrusted the SUBJECT TRACTOR to Defendant LYMAN; that Defendant BRAND
knew or should have known that Defendant LYMAN:

a. was not a safe, lawful and prudent driver; and/or

b. had been involved in previous vehicular accidents; and/or

c. was known or reputed to be an unsafe driver and/or employee; and/or

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d. was incompetent at the time of Defendant LYMAN’s application for
employment.

62. 'l`hat as a proximate cause of Defendant BRAND’s breach of its duty to use
reasonable care when: hiring and/or retaining Defendant LYMAN, and/or entrusting the SUBJECT
TRACTOR to Defendant LYMAN by Defendant BR.AND, Plaintiff GEHL was injured in the
SU BJECT ACClDEN'l`.

63. As a direct and proximate result of the aforesaid negligent hiring and/or retention
and/or entrustment of the SUBJECT TRACTOR to Defendant LYMAN by Defendant BRAND, as
to Defendant BRAND, Plaintiff GEliL, suffered bodily injury and resulting pain and suffering,
disability, disfigurement, mental anguish, loss of capacity for the enjoyment of |il`e, expense of
hospitalization, medical and nursing care and treatment, loss of camings, loss of ability to earn
money, and/or aggravation of a previously existing condition. The losses arc either permanent or
continuing and Plaintiff will suffer the losses in the future.

Wl-IEREFORE, Plaintiff GEHL sues Defendant BRAND for damages, together with costs,
interest and such other and further relief as this Court deemsjust and proper and demands a trial by
jury on all issues so triable.

DATED this 231 day orrury, 2012.

DELLECKER WILSON KING McKENNA
RUFFIER & SOS, LLP

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